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                                 #:11553




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    Ironhawk Technologies, Inc.
  8
  9                          UNITED STATES DISTRICT COURT
 10                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
 12 IRONHAWK TECHNOLOGIES,INC.,                    Case No. 2:18-cv-01481-DDP-JEM
    a Delaware Corporation,                        The Hon. Dean D. Pregerson
 13
                                                   MOTION IN LIMINE NO.3 TO
 14             Plaintiff and                      EXCLUDE EVIDENCE AND
                Counterdefendant,                  ARGUMENT OF ANY MOTIVE OR
 15                                                INTENT OF PLAINTIFF
                  vs.                              IRONHAWK TECHNOLOGIES,
 16                                                INC.IN BRINGING THIS ACTION;
    DROPBOX,INC., a Delaware                       DECLARATION OF LORI
 17 corporation,                                   SAMBOL BRODY IN SUPPORT
                                                   THEREOF
 18
                 Defendant and                     Judge:          Hon. Dean D. Pregerson
 19              Counterclaimant.                  Date:           October 7, 2019
                                                   Time:           10:00 a.m.
 20                                                Ctrm,:          9C
 21
                                                   Trial Date: October 22, 2019
 22                                                Final Pre-Trial Conf.: October 7, 2019
 23
 24
 25
                            REDACTED VERSION — PROPOSED
 26
                                     TO BE FILED UNDER SEAL
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      1340022.1                                                Case No. 2:18-cv-01481-DDP-JEM
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   1               PLEASE TAKE NOTICE that, on October 7, 2019 at 10:00 a.m., or as soon
   2 thereafter as it may be heard, in Courtroom 9C of the above-titled Court, located at
   3 350 West 1st Street, Los Angeles, California 90012,the Honorable Dean D.
   4 Pregerson presiding, plaintiff and counterdefendant Ironhawk Technologies, Inc.
   5 ("Ironhawk") will, and hereby does, brings this Motion in Limine No. 3 to exclude
   6 evidence ofIronhawk's purported intent in filing this action (the "Motion").
   7               This Motion will be made pursuant to Rules 401, 402, and 403 of the Federal
   8 Rules of Evidence. The Motion is based on the following grounds:
   9               •     Evidence ofIronhawk's intent in filing this lawsuit is irrelevant to its
  10                     claims for trademark infringement and common law unfair competition
  11                     as it is not an element of either claim.
  12               •     Evidence of the intent ofthe plaintiff in filing the lawsuit is irrelevant
  13                     to Dropbox's defense of unclean hands. It is a time-honored rule that,
  14                     in a trademark case, the conduct contended to be "unclean" must relate
  15                     to the subject matter of plaintiff's claims, e.g., relating to the attaining
  16                     or using the trademark at issue — and the allegedly unfair or improper
  17                    filing ofa trademark infringement lawsuit cannot itselfconstitute a
  18                     basisfor the defense.
  19               •     Even if the evidence were in any way probative (it is not), such
  20                     probative value would be outweighed by a danger of undue prejudice,
  21                     confusing the issues, and misleading the jury.
  22               The Motion is based on this Notice of Motion, the Memorandum ofPoints
  23 and Authorities, the declaration of Lori Sambol Brody, and the exhibits thereto, all
  24 documents filed in this case, and any other evidence and argument the Court may
  25 consider.
  26 / / /
  27 / / /
  28 / / /
       1340022.1                                                Case No. 2:18-cv-01481-DDP-JEM
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   1               The Motion is made following a L.R. 7-3 conference of counsel that occurred
   2 on September 9, 2019.
   3 Dated: September 16, 2019                 BROWNE GEORGE ROSS LLP
                                                  Keith J. Wesley
   4
                                                  Lori Sambol Brody
   5                                              Matthew L. Venezia
  6
                                               By:       /s/Lori Sambol Brody
   7                                                     Lori Sambol Brody
   8                                           Attorneys for Plaintiff and Counterdefendant
                                               Ironhawk Technologies, Inc.
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   1
                          MEMORANDUM OF POINTS AND AUTHORITIES
   2
       I.           INTRODUCTION
   3
                    PlaintiffIronhawk Technologies, Inc.("Ironhawk"), a small technology
   4
       company, obtained a registration for the mark SmartSync® in 2007 for use in
   5
       computer software. But in late 2016 and early 2017, Defendant Dropbox, Inc.
   6
       ("Dropbox"), knowing ofIronhawk's registration and prior use ofthe trademark,
   7
        decided, with all the hubris of a large company used to getting its way,to cavalierly
   8
        use the name Smart Sync for its own software product.
   9
                    Despite Dropbox's using an almost identical name and its knowing
  10
        infringement ofIronhawk's trademark, Dropbox has contended that it — not
  11
       Ironhawk — is the victim here. Dropbox has made it clear that it intends to argue,
  12
        elicit testimony, and introduce evidence at trial that Ironhawk had an improper or
  13
        bad faith motive in bringing this action: that Ironhawk, a failing or struggling
  14
        business with sagging revenues (according to Dropbox), has only brought this action
  15
        as part of a pattern of extortion, to obtain a "windfall" or make money, or as a
  16
       "revenue source."
  17
                    Dropbox attempts to introduce this irrelevant and inadmissible evidence,
  18
        testimony, and argument only to bias the jury against Ironhawk and prejudice
  19
        Ironhawk's claims. Such evidence, testimony, and argument should be excluded
  20
        under Rules 401, 402, and 403 of the Federal Rules ofEvidence:
  21
                    •     Evidence ofIronhawk's intent in filing this lawsuit is irrelevant to its
  22
                          claims for trademark infringement and common law unfair competition
  23
                          as it is not an element of either claim.
  24
                     •    Evidence of the intent of the plaintiff in filing the lawsuit is irrelevant
  25
                          to Dropbox's defense of unclean hands. It is a time-honored rule that,
  26
                          in a trademark case, the conduct contended to be "unclean" must relate
  27
                          to the subject matter of plaintiff's claims, e.g., relating to the attaining
  28
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   1               or using the trademark at issue — and the allegedly unfair or improper
  2               filing ofa trademark infringement lawsuit cannot itselfconstitute a
  3                basisfor the defense.
  4          •     Even if the evidence were in any way probative (it is not), such
   5               probative value would be outweighed by a danger of undue prejudice,
  6                confusing the issues, and misleading the jury.
  7         Ironhawk respectfully requests that this Court grant this motion in limine.
   8 II.    EVIDENCE AND ARGUMENT TO BE EXCLUDED
  9         Dropbox has previously argued that Ironhawk has an improper or nefarious
  10 motive for filing this action, e.g., characterizing Ironhawk as, variously, a defunct or
  11 struggling business, or with little revenue, and therefore Ironhawk has filed this
  12 trademark infringement action to extort Dropbox,to obtain a "windfall," to obtain a
  13 "revenue source," or to make money. For example, in its motion for summary
  14 judgment(Dkt. 91-1), Dropbox contended:
  15        •      "This trademark case lays bare Ironhawk's pattern of trying to extort
  16               windfall damages from successful businesses under the guise of
  17               consumer confusion, where the evidence is clear absolutely none exists.
  18               Ironhawk is a struggling company .. ." Dkt. 91-1 at 7.
  19        •      "Ironhawk's business is failing . . ." Dkt. 91-1 at 10.
  20        •      "Ironhawk candidly admitted that in filing suit, it was seeking an
  21               additional 'revenue source' for its failing company." Dkt. No. 91-1 at
  22                12.
  23         Even during the meet and confer concerning the subjects of the parties'
  24 motions in limine, Dropbox mentioned that Ironhawk was a "defunct business" and
  25 had "no customers"(both of which are demonstrably wrong). Declaration of Lori
  26 Sambol Brody("Brody Decl.") ¶ 2.
  27         In furtherance ofthis misplaced theme, Dropbox has indicated that it will seek
  28 to introduce at trial Exhibit 333, a June 10, 2017 email from David Gomes to Eric
     1340022.1                                                   Case No. 2:18-cv-01481-DDP-JEM
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   1   Lastition, a former shareholder, attaching a 2016 Ironhawk shareholder update
  2 ("Exhibit 333"). In this email, Mr. Gomes updated Mr. Lastition as to the finances
  3 ofIronhawk since January 2017, stating, inter alia,"Addendum to this is . • . the
  4 potential lawsuit against Dropbox and Salesforce.com for stealing our registered
  5 trademark SmartSync® which is another revenue source as well as the opening of
  6 more acquisition avenues."' Brody Decl. ¶ 3, Ex. A (Exhibit 333;IRONHAWK-
  7 D_000046389-000046394); see also ¶ 4, Ex. B (March 21, 2019 deposition) at
   8 357:11-359:1.
  9          Therefore, Ironhawk requests this Court to exclude the following arguments
  10 or evidence:
  11         •      Exhibit 333;
  12         •      Evidence and/or argument concerning a similar case Ironhawk brought
  13                against Salesforce concerning the SmartSync® mark(which settled) as
  14                part of an scheme or pattern of extortion by bringing lawsuits;
  15         •      Evidence and/or argument stating that this action was filed to extort
  16                Dropbox, to obtain a "windfall," that the action is a "revenue source,"
  17                or to "make money," or anything similar that explicitly or impliedly
  18                states that Ironhawk had a nefarious or improper motive in bringing the
  19                case other than defending Ironhawk's intellectual property rights;
  20         •      Evidence and/or argument characterizing Ironhawk as a defunct or
  21                struggling business, with little or no revenue.
  22 III.    ARGUMENT
  23         A.     The Court May Exclude Argument and Evidence as to Ironhawk's
  24                Purported Motive or Intent in Filing this Action.
  25         "Although the Federal Rules of Evidence do not explicitly authorize a motion
  26
  27 1        To be clear, by this motion in limine, Ironhawk does not seek to exclude the
     attachment to Exhibit 333, the 2016 Ironhawk shareholder update, only the cover
  28 email. This shareholder update is Exhibit 332.
     13400221                                                      Case No. 2:18-cv-01481-DDP-JEM
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   1 in limine, the Supreme Court has held that trial judges are authorized to rule on
  2 motions in limine pursuant to their authority to manage trials." Copper Sands
  3 Homeowners Ass'n, Inc. v. Copper Sands Realty, LLC,2012 WL 960459, *1 (D.
  4 Nev. Mar. 21, 2012), citing Luce v. United States, 469 U.S. 38,41 n. 4(1984).
   5               "The purpose of a motion in limine is to ask the court to rule on evidentiary
  6 issues in advance oftrial .. .." Dae Kon Kwon v. Costco Wholesale Corp., 2010
   7 WL 571941,*3(D. Haw. Feb. 17, 2010)citing Bradley v. Pittsburgh Bd. ofEduc.,
   8 913 F. 2d 1064, 1069(3d Cir. 1990); Lee v. City of Columbus, Ohio, 2010 WL
  9 333665, *1 (S.D. Ohio Jan. 21, 2010). "This serves to avoid the futile attempt of
  10 `unring[ing] the bell' when jurors have seen or heard inadmissible evidence, even
  11 when stricken from the record." Crane-McNab v. County ofMerced, 2011 WL
  12 94424(E.D. Cal. Jan. 11, 2011), citing Brodit v. Cambra, 350 F. 3d 985, 1004-05
  13 (9th Cir. 2003).
  14               "Motions in limine may also serve to save time by ruling on evidentiary
  15 disputes in advance, minimizing side-bar conferences and other disruptions at trial
  16 and potentially obviating the need to call certain witnesses." Id., citing United
  17 States v. Tokash, 282 F. 3d 962,968 (7th Cir. 2002). The Court is not limited to
  18 prohibiting the introduction of certain documents or information into evidence but
  19 may also prohibit any mention ofthe excluded evidence in opening statements,
  20 during trial, or in argument to the jury. Benedi v. McNeal-P.P.C., Inc., 66 F. 3d
  21 1378, 1384 (4th Cir. 1995).
  22               B.     Argument and Evidence of Ironhawk's Purported Motive or Intent
  23                      Is Irrelevant.
  24               Evidence is only relevant if it has a tendency to make a fact of consequence
  25 more or less probable. FED.R.EviD. 401. Irrelevant evidence is inadmissible. FED.
  26 R. EVID. 402. Ironhawk's intent in bringing this lawsuit is not relevant either to
  27 Ironhawk's claims or Dropbox's defenses, and thus must be excluded.
  28                The intent of the plaintiff in bringing a trademark infringement is not an
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   1   element of either Ironhawk's trademark infringement or California common law
   2 unfair competition claim. See OTR Wheel Eng'g, Inc. v. W. Worldwide Servs., Inc.,
   3 897 F.3d 1008, 1022(9th Cir. 2018)(a trademark infringement claim requires
  4 plaintiffto show "1)it has a valid, protectable mark, and 2)the defendant's use of
   5 the mark is likely to cause consumer confusion."); Cleary v. News Corp., 30 F.3d
  6 1255, 1262-63 (9th Cir. 1994)("This Circuit has consistently held that state
   7 common law claims of unfair competition and actions pursuant to California
   8 Business and Professions Code § 17200 are 'substantially congruent' to claims
   9 made under the Lanham Act"); Kythera Biopharmaceuticals, Inc. v. Lithera,
  10 998 F.Supp.2d 890, 897(C.D. Cal. 2014)(test for Lanham Act trademark
  1 1 infringement and common law unfair completion involving trademarks are the
  12 same). Therefore, even if it were true, Ironhawk's purported improper purpose of
  13 filing this case does not have a tendency to make any fact of consequence more or
  14 less probable, and any evidence or argument ofthis intent does not meet the
  15 standards for relevancy and admissibility. See FED. R.EVID. 401, 402, 403.
  16         Nor is the evidence this motion in limine seeks to exclude relevant to any of
  17 Dropbox's defenses. The only defense that this evidence may conceivably be
  18 relevant to is "unclean hands"2 (Dkt. 17 at 9)— but the unclean hands defense does
  19 not apply here.
  20         To establish an unclean hands defense, a defendant must show that
  21 "plaintiffs conduct is inequitable and that the conduct relates to the subject matter
  22 of its claims." Japan Telecom, Inc. v. Japan Telecom Am. Inc., 287 F.3d 866, 870
  23 (9th Cir. 2002); Fuddruckers, Inc. v. Doc's B.R. Others, Inc., 826 F.2d 837, 847. In
  24 other words, to relate to the subject matter of plaintiff's claims, the allegedly
  25
  26   2
                Dropbox also asserts the "defenses" of failure to state a claim, fair use,
  27 misrepresentation of material facts, laches, estoppel, waiver, statute of limitations,
     acquiescence, lack of intent, good faith, failure to mitigate, and absence of damages.
  28
     Dkt.      17.
     1340022.1                                    _5_                 Case No. 2:18-cv-01481-DDP-JEM
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   1 "unclean hands" conduct must "relate to the getting or using the alleged trademark
   2 rights." Monster Energy Co. v. Thunder Beast LLC, 2018 WL 6431010, at *3(C.D.
   3 Cal. Oct. 22, 2018); J. Thomas McCarthy,6 McCarthy on Trademarks and Unfair
   4 Competition ("McCarthy")§ 31:51 (5th ed. 2016). For example,"unclean hands"
   5 may arise where plaintiff has fraudulently obtained a trademark or where plaintiff
   6 has used the trademark to deceive customers — conduct which Dropbox does not
   7 allege here. Amusement Art, LLC v. Life is Beautiful, LLC, 2016 WL 6998566, at *4
   8 (C.D.Cal. Nov. 29, 2016), aff'd 768 Fed.App'x 683(9th Cir. 2019); Blue Mako
   9 Incorporated v. Minidis, 2008 WL 11334205, at *11 (C.D. Cal. June 23, 2008).
  10               It is well-established, however, that the allegedly unfair or improper filing of
  1 1 a trademark infringement lawsuit cannot itself constitute a basis for an unclean
  12 hands defense to that lawsuit since the act of bringing a lawsuit does not "relate to
  13 the getting or using the alleged trademark rights," i.e., is not the subject matter
  14 concerning which plaintiff seeks relief. Monster Energy, 2018 WL 6431010, at *3
  15 (striking unclean hands defense where it was solely premised on plaintiff's filing of
  16 the action.); Adidas Am., Inc. v. TRB Acquisitions LLC, 2017 WL 337983, at *8(D.
  17 Or. Jan. 23, 2017)(holding that unclean hands defense fails as a matter of law since
  18 plaintiff's misrepresentations to the court as to the trademark rights they owned
  19 were "related to Plaintiff's enforcement of its trademark and thus are unrelated to
  20 `getting or using' that trademark."); Coach Inc. v. Kmart Corporations, 756
  21 F.Supp.2d 421, 429-30(S.D.N.Y. 2010)(striking unclean hands defense where it
  22 was based on plaintiff's bringing a lawsuit knowing that the goods were not
  23 counterfeit); Yurman Design, Inc. v. Golden Treasure Imports, Inc., 275 F.Supp.2d
  24 506, 518, recon. denied 218 F.R.D. 396(S.D.N.Y. 2003)(holding that plaintiff's
  25 alleged bad faith in bringing "frivolous and unfounded" trade dress infringement
  26 claims could not be the basis of an unclean hands defense to those claims);
  27 McCarthy, § 31:51 (5th ed. 2016).
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   1         Here, Monster, Adidas, and the additional authority cited above are
   2 controlling, and Dropbox cannot demonstrate that Ironhawk's intent in filing this
   3 action supports its unclean hands defense. Ironhawk's purported bad faith intent
   4 does not relate to the subject matter of this action, i.e., Ironhawk's registration or use
   5 of the SmartSync® trademark. Therefore, any evidence or argument ofimproper
   6 intent should be excluded as inadmissible and irrelevant.
   7         Moreover, it is difficult to imagine a situation where a nefarious or improper
   8 motive can be derived based on plaintiff's seeking monetary compensation in filing
   9 a lawsuit, no matter the financial status of plaintiff, as Dropbox asserts. Almost all
  10 lawsuits are based on the goal of obtaining at least some monetary compensation for
  1 1 defendant's wrongdoing and plaintiff's injury. Here, there is no impropriety in
  12 Ironhawk seeking the same, especially where Ironhawk has a registered trademark,
  13 SmartSync®, and Dropbox is using the confusingly similar term Smart Sync for its
  14 similar product. Nor is the financial status of a plaintiff relevant to whether a
  15 plaintiff can assert its legal rights — a plaintiff need not have certain amount of
  16 revenues, or be adjudged a successful business, as a threshold to pursue a lawsuit.
  17 There is absolutely no relevance to cast Ironhawk as having an improper motive in
  18 seeking to obtain the relief that it is entitled to under the law.
  19         Therefore, since Ironhawk's alleged improper motive in bringing this lawsuit
  20 does not make a fact of consequence more or less probable in this action, any
  21 evidence, argument, or testimony on this issue must be excluded.
  22         C.     Any Probative Value of Evidence of Ironhawk's Purported Motive
  23                or Intent Is Outweighed by the Danger of Unfair Prejudice,
  24                Confusing the Issues, and Misleading the Jury and Thus Must Be
  25                Excluded.
  26         Assuming, arguendo, that argument or evidence purporting to show that
  27 Ironhawk had a purported improper motive was in any way relevant(it is not), it
  28 may be excluded if its "probative value is substantially outweighed by a danger of..
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   1 . unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting
   2 time, or needlessly presenting cumulative evidence." FED. R.EvID. 403. Evidence is
   3 "unfairly prejudicial" if it makes a finding of liability more likely because it
   4 provokes an emotional response in the jury or otherwise tends to affect adversely the
   5 jury's attitude toward the party apart from its judgment as to the party's liability. See
   6 United States v. Johnson, 820 F. 2d 1065, 1069(9th Cir. 1987). Unfair prejudice is
   7 measured "by the degree to which a jury responds negatively to some aspect of the
   8 evidence unrelated to its tendency to make a fact in issue more or less probable[.]"
   9 Id.
  10         Dropbox has already made incendiary allegations in papers to the Court that
  1 1 Ironhawk, due to its allegedly failing or struggling business, has filed this action in
  12 order to extort Dropbox or obtain a "windfall" in damages. Its allegations of
  13 Ironhawk's purported nefarious motive in an attempt to paint Ironhawk in a bad
  14 light would provoke a negative response on the part ofthe jury. This could unduly
  15 bias the jury against Ironhawk, a prejudice unrelated to the relevant facts and law at
  16 issue. This may cause the jury to ignore the law and the facts presented at trial —
  17 e.g., that Ironhawk has registered the trademark that Dropbox now uses — or the jury
   18 may be misled that Ironhawk's motive or financial condition is an element of the
   19 claims and defenses, when it is not.
  20         This prejudice is substantially outweighs the probative value ofthe evidence
  21 at issue, which at the most is slight. Therefore, any evidence or argument
  22 concerning Ironhawk's motive in bringing this action must be precluded under Rule
  23 403.
  24 IV.     CONCLUSION
  25         For the foregoing reasons,Ironhawk requests that this Court exclude any
  26 evidence or argument introduced by Dropbox concerning Ironhawk's purported
  27 scheme or pattern of extortion by bringing lawsuits, that the lawsuit was filed to
  28 obtain a "windfall," that the action is a "revenue source," or to "make money,"
     1 340022.1                                                   Case No, 2:18-cv-01481-DDP-JEM
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   1 including Exhibit 333, characterizing Ironhawk as a defunct or struggling business
   2 with little or no revenue.
   3
   4 Dated: September 16, 2019              BROWNE GEORGE ROSS LLP
                                               Keith J. Wesley
   5
                                               Lori Sambol Brody
   6                                           Matthew L. Venezia
   7
                                            By:        /s/Lori Sambol Brody
   8                                                   Lori Sambol Brody
   9                                         Attorneys for Plaintiff and Counterdefendant
                                             Ironhawk Technologies, Inc.
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   1                               DECLARATION OF LORI SAMBOL BRODY
   2               I,Lori Sambol Brody, declare and state as follows:
   3               1.    I am an attorney at law, duly admitted to practice before this Court and
   4 all courts ofthe State of California. I am an attorney with Browne George
   5 Ross LLP, counsel of record for Plaintiff and Counterdefendant Ironhawk
   6 Technologies, Inc. in this matter. I have firsthand, personal knowledge of the facts
   7 set forth below and if called as a witness could competently testify thereto,
   8               2.    The attorneys for both parties met and conferred on the relief requested
   9 in this motion in limine on September 9, 2019, via telephone. During this
  10 conversation, Dropbox's counsel mentioned that Ironhawk was a "defunct business"
  1 1 and had "no customers." I participated in this phone call. We were unable to come
  12 to an agreement concerning this motion.
  13               3.    A true and correct copy of a June 10, 2017 email from David Gomes to
  14 Eric Lastition(IRONHAWK-D_000046389-000046394)is attached hereto as
  15 Exhibit A. This document has been designated on the Joint Exhibit List as Exhibit
  16 333.
  17               4.    True and correct of relevant pages from the March 21, 2019 deposition
  18 ofIronhawk's Rule 30(b)(6) witness are attached as Exhibit B.
  19               Executed this 16th day of September 2019, at Los Angeles, California.
  20               I declare under penalty of perjury under the laws of the United States of
  21 America that the foregoing is true and correct.
  22
  23                                                                                  /s/ Lori Sambol Brodv
                                                                                      Lori Sambol Brody
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  28
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       MOTION IN LIMINE NO,3 TO EXCLUDE EVIDENCE AND ARGUMENT OF ANY MOTIVE OR INTENT OF
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                                         , TT1 Z-V1. TT T A TT Tr, mnfr,T   TATCNT fle,T1-70   TAT(, TNT   IDD TXTO_TNTrl   TT_TTC A   omrrym
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                                 #:11566




                        Exhibit A
                Redacted in its Entirety
               Conditionally Filed Under
                         Seal




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Case 2:18-cv-01481-DDP-JEM Document 179-2 Filed 09/16/19 Page 15 of 15 Page ID
                                 #:11567




                          Exhibit B
               Redacted in its Entirety
              Conditionally Filed Under
                        Seal




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